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    5
        Receiver for Cherokee Gas Systems, Inc.
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    7
                             UNITED STATES DISTRICT COURT
    8
                           CENTRAL DISTRICT OF CALIFORNIA
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   11   SECURITIES AND EXCHANGE                      Case No.: SACV 10-0018 JVS (ANx)
        COMMISSION,
   12                                                NOTICE OF LODGMENT OF
                    Plaintiff,                       AMENDED PROPOSED ORDER RE
   13                                                RECEIVER’S FINAL REPORT AND
              v.                                     MOTION FOR PAYMENT OF FEES
   14                                                AND COSTS
   15   THOMAS A. LABRY and
        CHEROKEE GAS SYSTEMS, INC.,
   16
                    Defendants.
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   20         PLEASE TAKE NOTICE that attached hereto is the Amended Proposed
   21   Order on Defendant Labry’s Motion to Remove Receiver and Appoint a New
   22   Receiver and the Receiver’s Opposition thereto, and the Receiver’s Final Report
   23   and Memorandum in Support of Motion to (1) Approve a Final Report and
   24   Accounting; (2) Approve a Pro Rata Distribution of Assets to Investors; (3)
   25   Authorize the Abandonment and Destruction of Documents and Records; (4)
   26   Relieve the Receiver from Further Duties and Liabilities; and (5) Approve the
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                            NOTICE OF LODGMENT OF AMENDED PROPOSED ORDER
Case 8:10-cv-00018-JVS-VBK Document 100 Filed 10/04/11 Page 2 of 2 Page ID #:1853



    1   Receiver’s request for payment of fees and disbursements.
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        DATED: October 4, 2011               JOHN W. COTTON
    7                                        COTTON & GUNDZIK LLP
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    9                                        ____/s/__________________
   10                                         John W. Cotton
   11                                        Receiver for Cherokee Gas Systems, Inc.
   12                                        and its affiliates and subsidiaries
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                          NOTICE OF LODGMENT OF AMENDED PROPOSED ORDER
